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JoE sRucE, JR. and mag-ghi __ ;i_;_,m
ANN:E BRucE, Wife W D)UT §'§E;;EP<§L.S
v. pocket No. 04-2566 _ MA/P

JURY DEMANDED

TENNESSEE VALLEY AUTHORlTY

Defendant.

 

ORDER OF DlSlVl|SSAL AS TO PERl\/|ANENT GENERAL.
ASSURANCE CORPORAT|ON ONLY

 

Comes now the P|aintiff and Permanent Genera| Assurance Corporation,
the unnamed Defendant in this matter, and announce to the Court that they have
agreed that this suit, insofar as it expresses a claim against Permanent General
Assurance Corporation, shall be dismissed as to Permanent Genera| Assurance
Corporation subject to certain conditions. Based on the foregoing, it is hereby,

ORDERED, ADJUDGED, AND DECREED that

1. This suit, insofar as it expresses a claim against Permanent
Genera| Assurance Corporation, is hereby dismissed Without prejudice to its
being refiled.

2. The action against Permanent General Assurance Corporation may
be reinstated Without reissuance of process upon notice to Permanent Genera|
Assurance Corporation that the liability insurance coverage afforded to

Tennessee Va||ey Authority has been denied, or that the coverage has otherwise

failed.
This document entered on the docket heat fn compliance CQ
with Ru|e 58 and/or 79{3) FFlGP on §' 4 “O 6

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3. With regard to any reinstituted action, Permanent General
Assurance Corporation expressly waives any defense it might have based on the
saving statute T.C.A. § 28-1-105, or any other applicable statute of limitations.

4. Costs attributable to the claim against Permanent General
Assurance Corporation will be taxed in accordance with the Hna| order of

judgment or dismissal entered in this matter.

Eniered this 13A day of M ‘_') , 2005.

DlSTR|CT JUDGE

 

APPROVED FOR ENTRY:

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Aiysorz§hensasi<y (18323)

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
ease 2:04-CV-02566 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

